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                       IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

                                       EUGENE DIVISION




UNITED STATES OF AMERICA                                           Case No. 6:15-cr-00344-AA-1
                                                                            6:15-cr-00345-AA-2
                Plaintiff,                                                  6:15-cr-00346-AA-2
                                                                      OPINION AND ORDER
      vs.

LARRY ALAN LARSEN

                Defendant.


AIKEN, District Judge:

      Before the Court is defendant Larry Alan Larsen’s Renewed Motion to Reduce

Sentence Pursuant to 18 U.S.C. § 3582(c)(1)(A)(i) (Compassionate Release). Doc. 61.1

In 2017, the Court sentenced defendant to 108 months’ imprisonment and 3 years’

supervised release after his guilty plea to three federal charges of conspiring to steal

federal property and being a felon in possession of a firearm. He is currently serving




      1   All record citations in this Opinion are to the docket in Case No. 6:15-cr-00344-AA-1.



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his sentence at Federal Correctional Institution (“FCI”) Sheridan and his projected

release date is May 18, 2023.

      On July 21, 2021, defendant filed a Motion for Compassionate Release. The

Court denied the motion without prejudice and with leave to renew if defendant’s

circumstances changed. On September 3, 2021, defendant renewed his motion,

contending that his circumstances had changed enough to warrant compassionate

release. In his renewed motion, defendant asks the Court to reduce his sentence to

time served or, in the alternative, to 100 months. For the reasons that follow, this

motion is DENIED.

                                    STANDARDS

      Under § 3582(c)(1)(A), a court may reduce a defendant’s sentence if it finds that

two conditions are met: (1) that “[e]xtraordinary and compelling reasons warrant

such a reduction” and (2) “that such a reduction is consistent with applicable policy

statements issued by the Sentencing Commission.” If the court finds that those

conditions are met, before granting a sentence reduction, it must “consider[] the

factors set forth in [18 U.S.C.] § 3553(a) to the extent applicable[.]” 18 U.S.C. §

3582(c)(1)(A); see also United States v. Keller, 2 F.4th 1278, 1284 (9th Cir. 2021) (per

curiam) (“[A]lthough a district court must perform this sequential inquiry before it

grants compassionate release, a district court that properly denies compassionate

release need not evaluate each step.”).        The Sentencing Commission’s policy

statement regarding sentence reductions under § 3582(c)(1)(A) is found at U.S.S.G.

§ 1B1.13.   On a defendant’s direct motion for compassionate release, the policy




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statement “may inform a district court’s discretion . . . but [it is] not binding.” United

States v. Aruda, 993 F.3d 797, 802 (9th Cir. 2021). As a result, the court may consider

any extraordinary and compelling reason for release that a defendant might raise.

Id.

                                    DISCUSSION

      Defendant’s renewed motion presents three grounds that he contends present

extraordinary and compelling reasons for release. First, defendant asserts that his

health conditions, including obesity and a positive COVID-19 test on September 3,

2021, put him at greater risk of severe illness from COVID-19. Defendant also claims

to have hypertension, but the most recent medical records before the Court show his

blood pressure as 127/78 and note that this would only place him at risk of developing

hypertension. Defendant is fully vaccinated against COVID-19, significantly

decreasing his chance of developing severe illness from the disease and defendant’s

recorded vitals during quarantine suggest that his symptoms have been relatively

mild. These factors do not present extraordinary and compelling reasons necessary

to grant a Motion for Compassionate Release.

      Next, defendant details the harsh conditions at FCI Sheridan. While the

conditions alleged by the defendant–long periods of isolated confinement, medical and

other neglect by staff, and a brutal quarantine area–are certainly not something the

Court could have contemplated at sentencing, they do not, on their own or in

combination with defendant’s current health status, satisfy the extraordinary and

compelling reasons requirement for compassionate release. See United States v.




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Barber, 466 F.Supp.3d 1127, 1131-32 (D.OR. 2020) (Defendant’s showing of his

particular vulnerability to severe COVID warranted compassionate release); United

States v. Larsen, Case No. 6:15-CR-00344-AA-1, *3 (D.Or. 2021) (“defendant’s

arguments [concerning harsh lockdown conditions] are more appropriately addressed

under considerations of applicable sentencing factors under § 3553(a), which this

Court need not reach absent a finding of extraordinary and compelling reasons.”).

      Defendant also points to his lack of rehabilitative programming due to the long

periods of confinement and other precautions taken in the face of the COVID-19

pandemic. In particular, defendant wishes to transfer to the Northwest Regional Re-

entry Center (“NWRRC”) at the earliest possible time so he may participate in drug

treatment. BOP’s current policy is that an incarcerated individual is not eligible for

transfer to a re-entry facility until that individual has no more than 19 months left

on their sentence. Under this policy, defendant has less than seven months before he

will be within the nineteen-month eligibility window for transfer to NWRRC. The

short time before defendant’s eligibility for transfer to NWRRC and the generalized

nature of the conditions at FCI Sheridan lead this Court to conclude that defendant

has not presented extraordinary and compelling reasons for compassionate release at

this time.

                                  CONCLUSION

      The Court finds that defendant has failed to show extraordinary and

compelling reasons to warrant a reduction of his sentence under 18 U.S.C. §




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3582(c)(1)(A)(i). Defendant’s Renewed Motion (Doc. 61) is therefore DENIED without

prejudice to its renewal, especially if defendant’s health changes.

      IT IS SO ORDERED.

                  18th day of October 2021.
      Dated this _____




                                    /s/Ann Aiken
                             __________________________
                                    Ann Aiken
                            United States District Judge




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